
PER CURIAM.
We affirm the judgment of dissolution of marriage in all respects except one. It appears from the judgment that the court intended to equalize the equitable distribution of the parties’ property when it awarded the wife lump sum alimony. The amount awarded, however, according to the figures used by the court, makes the equitable distribution unequal. If the court had awarded one-half the amount of lump sum alimony that it did award, the equitable distribution would have been equal. We therefore reverse and remand for the trial court to reduce by one-half the amount of lump sum alimony or to make findings justifying an unequal distribution in favor of the wife.
Reversed and remanded.
GLICKSTEIN, WARNER and KLEIN, JJ., concur.
